      Case 1:21-cv-08921-MMG          Document 134       Filed 05/14/25    Page 1 of 2



UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                         ,-x
SIGALIT YEHUDA,
                                                               2l-cv-08921 (MMG)
                     Plaintiff,

              v.                                               DECLARATION OF'
                                                               STEVEN R. HAF'F'NER
JOSSEF KAHLON                                                  IN SUPPORT

                     Defendant/Counterclaim Plaintiff,

              v.

AVRAHAM YEHUDA,

                     Counterclaim Defendant.




       STEVEN R. HAFFNER hereby declares:

       1.     I am a member of the bar of this Court, and a partner in Gordon & Haffirer, LLP,

attorneys for the Plaintiff Sigalit Yehuda and Counterclaim Defendants Sigalit Yehuda and

Avraham Yehuda and make this declaration to introduce documents, in support of Plaintiff s and

Counterclaim Defendants' motion (i) for contempt and related relief and for judgment on the

pleadings dismissing Defendant Joseff Kahlon's ooSecond", "Fifth" and "Eighth" Cotrnterclaims

(ECF No. 25), pursuant to FRCP l2(c).I have direct personal knowledge of the matters stated.

       2.     A true and correct copy of a December 10,2024 letter from Plaintiff s counsel,

Steven Haffrrer, Esq. to Defendant's counsel Minyao W*9, Esq., is annexed as Exhibit A.

       3.     A true and correct copy of Plaintiff s Points of Objection to Accounting, dated

December 11,2024 (ECF No. 111), is annexed as Exhibit B.

       4.     A true and correct copy of May 18,2024 email from Plaintiff s counsel, Steven

Haffner, Esq. to Defendant's counsel Minyao W*g, Esq., is annexed as Exhibit C.
      Case 1:21-cv-08921-MMG           Document 134        Filed 05/14/25     Page 2 of 2



       5.      A true and correct copy ofthe transcript ofthe January 10,2025 court conference

in this case (ECF No. 117), is annexed as Exhibit D.

       6.      A true and correct copy of the transcript of the February 25,2025 court conference

in this case (ECF No. 128), is annexed as Exhibit E.

       7.      A true and correct copy of Defendant's "Supplemental Production", served in or

about February 2025, is annexed as Exhibit F.

       8.      A true and correct copy of Defendant's Notice regarding verified statement of

accounting, filed October 18,2024 (ECF No. 109), is annexed as Exhibit G.

       9.      A true and correct copy of the Court's May 29, 2024 Ofier (ECF No. 102)
directing that Defendant "shall fiIe a verified statement of accounting and any supporting

documents on or before September 30,2024", is annexed as Exhibit G

       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Executed on May 13,2025


                                                    Steven R. Haffner




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